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                                                                                     MICHAEL INDELICATO
BY ECF                                                                               MICHAEL MARRON
                                                                                     DOMINICK MINGIONE
Honorable Sanket J. Bulsara                                                          MARK NEWMAN
                                                                                     AGGELIKI E. NIKOLAIDIS
United States Magistrate Judge                                                       JOSEPH PERRY
                                                                                     MARIE LOUISE PRIOLO *
Eastern District of New York                                                         KEYONTE SUTHERLAND
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Brooklyn, New York 11201

    Re:         Vasicka, et al. v. Kerwin, et al., 18 CV 6858 (RPK) (SJB)
Your Honor:

       I represent plaintiffs in the above referenced matter. I write jointly with
defendant Kerwin pursuant to the Court’s order dated December 19, 2019 to
respectfully provide a status report.1

       Initially, earlier this week the Court of Claims denied, in part, the State’s motion
to dismiss in that forum. The opinion is annexed hereto as Exhibit 1 for the Court’s
review. The parties are now prepared to proceed with coordinated discovery in both
actions.

      The parties have conferred and respectfully request that a settlement conference
be convened after depositions, i.e. in early July 2020.

       Lastly, the parties respectfully propose the following revised discovery schedule
for the Court’s review and endorsement:

       Fact discovery to be completed by:                             June 29, 2020

1
  The undersigned prepared and circulated a draft of the instant status report by email to all counsel
this morning. As of this writing, counsel for defendant Lavalley has not responded.
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Hon. Sanket J. Bulsara
Feb. 28, 2020

        Exchange of expert reports by:                       July 29, 2020
        Expert depositions and all discovery completed by:   August 28, 2020
        Deadline to initiate dispositive motions:            September 28, 2020

        Thank you for your attention to this matter.

                                         Respectfully submitted,

                                         Gabriel P. Harvis

Encl.
cc:     All Counsel




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